                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION

STEVEN DUNCAN, PETER CAHILL and
CHARLES CAPARELLI, Individually and on
Behalf of All Others Similarly Situated,
                                                            Civil No. 2:16-cv-01229-PP
                              Plaintiffs,
                                                            CLASS ACTION
               v.

JOY GLOBAL INC., EDWARD L. DOHENY II,
JOHN NILS HANSON, STEVEN L. GERARD,
MARK J. GLIEBE, JOHN T. GREMP, GALE E.
KLAPPA, RICHARD B. LOYND, P. ERIC
SIEGERT and JAMES H. TATE,

                              Defendants.



                                 NOTICE OF SETTLEMENT

       NOTICE is hereby given that the parties have reached a settlement in principle that

would resolve all outstanding issues in this case among all parties. The parties are in the process

of reducing the agreement to writing, which we expect to be completed within 30 days. When it

has been completed, the parties will file settlement documents with the Court for approval.

       Dated this 23rd day of March, 2018.

                                              Respectfully submitted,

                                              FOLEY & LARDNER LLP

                                              By: s/ Philip C. Babler
                                                  Bryan B. House, Bar No. 1022054
                                                  Philip C. Babler, Bar No. 1070437

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